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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ARTHUR BROWN, JR.,                              §
                                                §
        Petitioner,                             §
                                                §
v.                                              §    CIVIL ACTION NO. 4:09-CV-74
                                                §
BOBBY LUMPKIN, Director,                        §    Execution Date: March 9, 2023
Texas Department of Criminal Justice,           §
Correctional Institutions Division,             §
                                                §
        Respondent.                             §


                      UNOPPOSED MOTION TO SUBSTITUTE COUNSEL


TO THE HONORABLE COURT:

        Petitioner Arthur Brown, Jr., by and through undersigned counsel, moves this Court to

substitute the Federal Public Defender for the Northern District of Texas, Capital Habeas Unit

(FPD), as counsel in this matter. Mr. Brown shows the following as good cause:

1. Mr. Brown was convicted of capital murder and sentenced to death in 1994 in Harris County,

     Texas. Since then, he has pursued relief from his conviction and sentence in both state and

     federal court.

2. Mr. Brown’s execution date is set for March 9, 2023.

3. Mr. Brown is represented in state court by the Office of Capital and Forensic Writs (OCFW).

     Recently, the OCFW uncovered previously suppressed information which supports that

     another man, not Mr. Brown, committed the underlying offense. This information appears to

     raise a substantial claim under Brady v. Maryland, 373 U.S. 83 (1963).
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4. Death-sentenced federal habeas petitioners are entitled to the appointment of counsel in federal

   court. McFarland v. Scott, 512 U.S. 849, 857–58 (1994). 18 U.S.C. § 3599(a)(2) provides that

   a person pursuing post-conviction relief from a death sentence imposed by a state court “shall

   be entitled to the appointment of one or more attorneys,” and other resources. See Martel v.

   Clair, 565 U.S. 648, 659–60 (2012). Section 3599(e) provides that counsel appointed after

   judgment are obligated to continue that appointment through “all available post-conviction

   process,” including applications for stays of execution, competency proceedings, and

   clemency motions. Wilkins v. Davis, 832 F.3d 547, 557–58 (5th Cir. 2016).

5. Paul Mansur and Alexander Calhoun are appointed to represent Mr. Brown under § 3599.

   Neither are able to adequately represent Mr. Brown in pursuing relief in federal court based on

   this recently disclosed Brady information.

6. Paul Mansur maintains a busy private practice and due to his other responsibilities is unable to

   adequately represent Mr. Brown in pursuing potential federal habeas avenues based on this

   recently disclosed information. Mr. Mansur has effectively shut down his death penalty

   practice and now has a full-time general law practice.

7. In 2017, Mr. Calhoun joined Texas’s Regional Public Defender for Capital Cases. That

   employment prohibited him from continuing to work on Mr. Brown’s case, and he has not been

   involved with Mr. Brown’s case since then. He is unable to continue representing Mr. Brown.

8. Substitution of § 3599 counsel is warranted when it is in the “interests of justice.” Clair, 565

   U.S. at 663. The interests of justice support substitution of counsel to allow Mr. Brown to

   present this potentially meritorious Brady claim in federal court that, through no fault of his

   own, was recently uncovered. Neither Mr. Mansur nor Mr. Calhoun are adequately able do so




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   under these circumstances. The OCFW is statutorily prohibited from representing Mr. Brown

   in federal court. Tex. Gov’t Code § 78.054(b).

9. The FPD’s office is able to represent Mr. Brown under these circumstances. Mr. Mansur has

   conferred with the FPD and they are willing and able to be appointed as counsel to represent

   Mr. Brown. Specifically, Jeremy Schepers, the Supervisor of the Capital Habeas Unit, has

   informed Mr. Mansur of their availability to serve as counsel in this case. That unit consists of

   attorneys who specialize in capital habeas corpus and post-conviction litigation. It was created

   to assist prisoners, such as Mr. Brown, in seeking federal habeas corpus relief from their

   conviction and death sentence.

10. This motion is not for purposes of delay. It is predicated on the recent discovery of this Brady

   material and the need for its rapid presentation to the federal courts before Mr. Brown’s

   execution date. Mr. Brown will not seek a stay of execution based on the substitution of counsel

   itself.

11. The Director is unopposed to this motion, contingent on Mr. Brown not seeking a stay of

   execution due to the change in counsel, any potential inability of the FPD to get up to speed

   on the record, or any other reasons related to the FPD’s late substitution into the case. As noted

   in the preceding paragraph, Mr. Brown agrees that no stay will be sought based on the

   substitution of counsel.

12. When the United States Court of Appeals for the Fifth Circuit approved the establishment of

   the two Texas CHUs, they intended that the units take out-of-district cases, and the CHUs are

   authorized to represent petitioners in any federal district in Texas. Consistent with its mandate,

   the FPD currently represents twenty-seven capital clients throughout Texas—twelve in the




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   Southern District, six in the Eastern District, five in the Northern District, and four in the

   Western District.

13. Moreover, because the FPD is independently funded, it will not seek any funding,

   reimbursement, or expenses from this Court in representing Mr. Brown. Similarly, this motion

   will obviate any need for expert or investigative funding from this Court, if any becomes

   necessary.

14. The contact information for the FPD is:

                       Jason D. Hawkins
                       Federal Public Defender
                       Northern District of Texas
                       525 Griffin Street, Suite 629
                       Dallas, Texas 75202
                       214.767.2746
                       214.767.2886 fax
                       Jason_Hawkins@fd.org

       And:

                       Jeremy Schepers
                       Supervisor, Capital Habeas Unit
                       Northern District of Texas
                       525 Griffin Street, Suite 629
                       Dallas, Texas 75202
                       214.767.2746
                       214.767.2886 fax
                       Jeremy_Schepers@fd.org

15. Upon appointment, the FPD will assign an attorney from that office to enter an appearance on

   Mr. Brown’s behalf. The FPD will ensure that Mr. Brown receives the representation he is

   entitled to:

       throughout every subsequent stage of available judicial proceedings, including . . .
       applications for writ of certiorari to the Supreme Court of the United States, and all
       available post-conviction process, together with applications for stays of execution
       and other appropriate motions and procedures, and . . . such competency
       proceedings and proceedings for executive or other clemency as may be available
       to the defendant.



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   18 U.S.C. § 3599(e). The FPD will represent Mr. Brown in pursuing remedies available to him,

   consistent with the mandates of § 3599.

16. Mr. Brown was informed of the FPD’s availability to be substituted as counsel in his case, and

   he consents to their substitution as counsel.

     For these reasons, Mr. Brown respectfully requests that this Court appoint the Federal Public

Defender for the Northern District of Texas, Capital Habeas Unit, as counsel and permit Mr.

Mansur and Mr. Calhoun to withdraw.


DATED: February 16, 2023                               Respectfully submitted,

                                                       /s/ Paul E. Mansur
                                                       PAUL E. MANSUR
                                                       Attorney at Law
                                                       SBOT 00796078
                                                       114 South Main Street
                                                       Seminole, Texas 79360
                                                       (432) 847-4649
                                                       (432) 847-4649 (facsimile)
                                                       paul@paulmansurlaw.com
                                                       office@paulmansurlaw.com

                                                       JASON D. HAWKINS
                                                       Federal Public Defender
                                                       Northern District of Texas

                                                       /s/ Jeremy Schepers
                                                       Jeremy Schepers (TX 24084578)
                                                       Supervisor, Capital Habeas Unit

                                                       Office of the Federal Public Defender
                                                       Northern District of Texas
                                                       525 S. Griffin St., Ste. 629
                                                       Dallas, TX 75202
                                                       214-767-2746
                                                       214-767-2886 (fax)
                                                       Jeremy_Schepers@fd.org




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                            CERTIFICATE OF CONFERENCE

       I hereby certify that on February 16, 2023, I conferred with Tomee Heining, counsel for
the Respondent, and the Respondent is unopposed to the substitution of counsel, contingent on Mr.
Brown not seeking a stay based on the change in counsel, as explained in paragraph 11.

                                                    /s/ Jeremy Schepers
                                                    Jeremy Schepers



                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was filed in this Court’s CM/ECF system,
which will serve all registered users in this case.

                                                    /s/ Jeremy Schepers
                                                    Jeremy Schepers




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